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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION


 AMERICAN SECURITIES
 ASSOCIATION,

                          Plaintiff,             Civil Action No. 8:22-cv-330

       v.

 U.S. DEPARTMENT OF LABOR;
 MARTY WALSH, in his official
 capacity as the Secretary of Labor,

                          Defendants.



 PLAINTIFF’S COMBINED OPPOSITION TO DEFENDANTS’ MOTION TO
  DISMISS AND MOTION FOR SUMMARY JUDGMENT AND REPLY IN
   SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT




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                               INTRODUCTION
      The Department of Labor does not dispute the key facts. In 2018, the Fifth

Circuit vacated the Department’s Fiduciary Rule, which had imposed fiduciary

status on individuals making one-time rollover recommendations. Rather than

amend its rules again, the Department issued a new “interpretation” of its

decades-old regulations. For the first time ever, the Department declared that

financial services providers (like ASA’s members) would be acting as a “fiduciary”

under its five-part test by making certain one-time rollover recommendations. The

Department also imposed a host of new documentation and investigation

requirements on entities seeking an exemption from the Department’s new

interpretation—requirements that are nowhere in the text of the actual exemption.

The Department made these pronouncements in the preamble to the exemption,

and a few months later it issued FAQs containing “materially indistinguishable”

policies. Because of these pronouncements, one of ASA’s members (Baird) does

not make rollover recommendations to investors and does not utilize the

exemption, and another ASA member (Stephens) must expend significant costs

and resources to comply with the pronouncements.

      Because the Department’s pronouncements did not go through notice and

comment and conflict with a plain reading of the Department’s regulations, ASA

filed suit, asking the Court to declare these policies unlawful, enjoin the

Department from enforcing them, and vacate and set them aside.

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      None of the Department’s defenses has merit. The Department puzzlingly

claims that ASA lacks standing. But ASA’s members are “objects of the regulation”

and so their standing is “self-evident.” The Department’s pronouncements either

prohibit or require actions from ASA’s members. These are classic injuries in APA

cases. The Department’s assertion that ASA challenged the wrong policies is even

stranger. ASA challenged “the policies referenced in the FAQ[s]” and it asks the

Court to declare the policies unlawful, enjoin the Department from enforcing

them, and vacate and set them aside. As the Department repeatedly emphasizes,

the policies referenced in the FAQs are “identical” to the policies contained in the

preamble to the exemption. The Department’s apparent theory—that ASA has no

cognizable injuries because the Department articulated the same policies in more

than one place—has no support in the caselaw.

      The Department’s arguments on the merits are similarly weak. The

Department contends that the pronouncements in FAQ 7 are procedurally proper

because the agency described them as “interpretive.” But courts give little weight

to such self-serving characterizations. Nor does the fact that the Department

received comments on these pronouncements after proposing them in a preamble

satisfy the APA’s procedural requirements. If the Department wanted to change

its policies, it needed to amend its rules—not change them through an

“interpretation.” As to the substance, the Department does not deny that it used

to interpret the “regular basis” prong the same as ASA does now. Yet now it
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contends that ASA’s interpretation somehow causes “absurd outcomes.” The

Department’s textual analysis is perfunctory and unpersuasive, failing to even

respond to all of ASA’s arguments.

      On the pronouncements in FAQ 15, the Department remarkably makes no

argument that they are procedurally proper. The Department’s sole argument is

that they should be deemed “harmless error” because ASA previously filed

comments on the Exemption. But notice-and-comment violations are rarely, if

ever, upheld as harmless error. And this case is no different. The Department’s

defense of the pronouncements in FAQ 15 on the merits is similarly sparse. The

Department contends that the myriad documentation and investigation

requirements in FAQ 15 are simply a ”logical” interpretation of what an advisor

should do to show the “specific reasons” he made a rollover recommendation. But

no fair reading of the Exemption supports these pronouncements.

      As a last resort, the Department asks the Court to defer to its interpretations.

But such deference rarely applies and is not warranted here. The regulations at

issue are not “genuinely ambiguous,” and the Department’s interpretations are

not “reasonable”—both of which are prerequisites for receiving deference. Such

deference is especially unwarranted for the pronouncements in FAQ 7, which

“interpret” a decades-old regulation in a way that flatly contradicts the

Department’s prior interpretation.

      The Court should grant ASA’s motion for summary judgment.
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     RESPONSE TO DEFENDANTS’ STATEMENT OF MATERIAL FACTS
       1.     The Department’s assertions that the Exemption “went through

 notice-and-comment rulemaking” and that ASA participated in the “notice-and-

 comment process” are improper legal arguments. See Dkt. 36 at 2 (“Legal

 argument should not be included in the statement of material facts.”). ASA denies

 that the pronouncements at issue in this case went through the proper notice-and-

 comment process. See ASA Mot. 18-19; infra 19. ASA admits that it filed the

 document at AR 378 with the Department in August 2020.

       2.     ASA admits that the quoted language appears at AR 2 and that the

 Department purported to announce a new “interpretation” of the five-part test in

 the preamble.

       3.     The Department’s characterization of the relief ASA seeks in its

 complaint is an improper legal argument. See Dkt. 36 at 2. Regardless, ASA does

 seek relief from certain pronouncements made in the preamble to the Exemption.

 See infra 11-16.

       4.     The Department’s characterization of the relevant documents is an

 improper legal argument. See Dkt. 36 at 2. The documents speak for themselves.

 ASA agrees that “[t]he language included in the response to FAQ 7 and FAQ 15 is

 materially indistinguishable from language included in the preamble.”

       5.     The Department’s characterization of the relevant documents is an

 improper legal argument. See Dkt. 36 at 2. The documents speak for themselves.

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                                         ARGUMENT
 I.     ASA has Article III standing.

        An association like ASA has standing if “its members would otherwise have

 standing to sue in their own right,” the “interests it seeks to protect are germane

 to the organization’s purpose,” and “neither the claim asserted nor the relief

 requested requires the participation of individual members in the lawsuit.” Hunt

 v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). The Department

 argues that ASA cannot satisfy the first Hunt requirement because ASA’s members

 lack standing. Dep’t Opp. 14-28.1 That argument fails.

        That the Department challenges ASA’s standing is surprising. When a

 plaintiff is “an object of the [regulatory] action” at issue, there is “ordinarily little

 question that the action or inaction has caused him injury, and that a judgment

 preventing or requiring the action will redress it.” Lujan v. Defs. of Wildlife, 504 U.S.

 555, 561-62 (1992). In these situations, the plaintiff’s “‘standing to seek review of

 [the] administrative action is self-evident.’” Fund For Animals, Inc. v. Norton, 322 F.3d

 728, 733 (D.C. Cir. 2003) (emphasis added).

        Here, ASA’s members are objects of the challenged regulatory actions at

 issue because the Department’s pronouncements target their activities. ASA Mot.



        1 ASA satisfies the remaining Hunt factors because this lawsuit is germane to ASA’s
 purpose, see ASA Mot. 4, ¶3, and the claims and relief requested do not require the participation
 of ASA’s individual members, see Greater Birmingham Ministries v. Sec’y of State for State of Ala.,
 992 F.3d 1299, 1316 (11th Cir. 2021).

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 4-5, ¶¶4-6; see, e.g., Contender Farms, LLP v. U.S. Dep’t of Agric., 779 F.3d 258, 266

 (5th Cir. 2015) (plaintiffs “are objects of the [agency’s] Regulation because they

 participate in the type of events that the Regulation seeks to regulate”). And the

 Department never argues otherwise. There thus is “little question” that ASA has

 standing. Lujan, 504 U.S. at 561-62.

       But “even if [the Court] were to harbor any doubts about [ASA’s] standing,

 they would be dissipated by evidence in [the] record.” Fund For Animals, 322 F.3d

 at 734. ASA has shown (through undisputed evidence) injury-in-fact, causation,

 and redressability.

       A.     ASA has suffered an injury-in-fact.

       A plaintiff satisfies the injury-in-fact prong when it shows “‘an invasion of

 a legally protected interest which is (a) concrete and particularized, and (b) actual

 or imminent, not conjectural or hypothetical.’“ Speech First, Inc. v. Cartwright, 32

 F.4th 1110, 1119 (11th Cir. 2022). Here, ASA satisfies these requirements because

 the record—which is undisputed, see Dep’t Opp. 13, ¶¶4-6—shows that two of

 ASA’s members (Baird and Stephens) are injured by the pronouncements in FAQ

 7 and FAQ 15, ASA Mot. 4-5, ¶¶4-6.

       Specifically, Baird “prohibits its investment advisors from recommending

 that investors roll over assets out of an employee benefit plan out of concern that

 such advice will confer ERISA fiduciary status under the Department’s

 pronouncements in FAQ 7.” ASA Mot. 4, ¶4. “Absent these pronouncements,

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 [Baird] would allow its investment advisors, when appropriate, to recommend

 that investors roll over assets out of an employee benefit plan, even if it was the

 advisor’s first contact with the investor.” Id. Baird also “will not utilize the

 December 2020 Exemption to avoid the costs of complying with the Department’s

 requirements set forth in FAQ 15.” Id. at 5, ¶6. “Absent the Department’s

 pronouncements in FAQ 15, [Baird] would utilize the Exemption to engage in the

 activities that the Exemption explicitly permits.” Id.

       In addition, Stephens “will utilize the December 2020 Exemption but is now

 expending additional time and resources to comply with the Department’s

 requirements in FAQ 15.” Id. at 5, ¶5. For example, Stephens must “purchase

 expensive software to comply with these requirements and its advisors must

 devote numerous hours complying with the Department’s new documentation

 requirements.” ASA Mot., Ex. C (Palermo Decl.) 4, ¶10. Stephens “would not

 endure these costs and burdens but for the Department’s pronouncements about

 the documentation required to comply with the Exemption.” ASA Mot. 5, ¶5.

       These are paradigmatic injuries-in-fact in APA claims. Baird is not taking

 actions because of the pronouncements in FAQ 7 and FAQ 15. See, e.g., Sturgeon v.

 Frost, 139 S. Ct. 1066, 1077, 1087 (2019) (plaintiff injured where agency regulations

 prohibited him from using his hovercraft on an Alaskan river). And Stephens is

 enduring costs and administrative burdens because of the pronouncements in

 FAQ 15. See, e.g., City of Waukesha v. EPA, 320 F.3d 228, 235-37 (D.C. Cir. 2003)
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 (higher “‘regulatory compliance costs’” are “sufficient to demonstrate injury-in-

 fact”); Contender Farms, 779 F.3d at 266 (“An increased regulatory burden typically

 satisfies the injury in fact requirement.”).

       The Department argues that Baird is not injured by the pronouncements in

 FAQ 7 because Baird already “behave[s] as [a] fiduciar[y]” so the pronouncements

 in FAQ 7 “do[] not materially affect its operations.” Dep’t Opp. 18. This makes no

 sense. Baird cannot “behave as a fiduciary” with respect to rollover

 recommendations because it is not making such recommendations. ASA Mot. 4,

 ¶4; Cotton v. Mass. Mut. Life Ins. Co., 402 F.3d 1267, 1277 (11th Cir. 2005) (a party is

 a fiduciary under ERISA only “‘with respect to the particular activity at issue’”

 and only to the extent that it “performs a fiduciary function”). That Baird’s mission

 is to “help [its clients] create great outcomes in their financial life’” and to “‘always

 keep[] their interests first,’” Dep’t Opp. 16 (quoting ASA Mot., Ex. B (Shultz Decl.)

 1, ¶3), doesn’t make Baird a fiduciary under the five-part test, see 29 C.F.R. §2510.3-

 21(c)(1); Cotton, 402 F.3d at 1277. And the pronouncements in FAQ 7 do affect

 Baird’s operations. Absent these pronouncements, Baird “would allow its

 investment advisors, when appropriate, to recommend that investors roll over

 assets out of an employee benefit plan, even if it was the advisor’s first contact

 with the investor.” ASA Mot. 4, ¶4.

       The Department further contends that Baird and Stephens are not injured

 because the pronouncements in FAQ 7 and FAQ 15 do not “command anything”
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 but merely provide “a benefit” for those that comply with the Exemption’s

 requirements. Dep’t Opp. 18-19, 21. Unsurprisingly, the Department provides no

 case to support this argument. Nor could it. A plaintiff has standing when it is

 denied a government benefit. See, e.g., Trinity Lutheran Church of Columbia, Inc. v.

 Comer, 137 S. Ct. 2012, 2017 (2017) (church injured when disqualified “from

 receiving grants under its playground resurfacing program”); Contender Farms, 779

 F.3d at 266 (plaintiffs had standing even though the regulation did not “‘force[]’”

 them to do anything). Regardless, the Department’s policies are not merely

 “benefits.” The pronouncements in FAQ 7 prohibit ASA’s members from engaging

 in certain practices by redefining when an entity is acting as a “fiduciary.” ASA

 Mot. 4, ¶4. And the pronouncements in FAQ 15 prohibit ASA’s members from

 utilizing the Exemption unless they comply with certain documentation and

 investigation requirements. ASA Mot. 5, ¶¶5-6. These are classic injuries-in-fact.

 Supra 7-8.

       Nor must ASA prove that its members’ “additional expenses incurred” by

 these requirements won’t “be offset by financial gains made by ASA members

 when they were permitted to receive otherwise-prohibited compensation.” Dep’t

 Opp. 21. The pronouncements in FAQ 15 impose unlawful costs and burdens on

 ASA’s members; whether ASA’s members will benefit financially from complying

 with the Exemption is irrelevant. See Denney v. Deutsche Bank AG, 443 F.3d 253, 265



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 (2d Cir. 2006) (“[T]he fact that an injury may be outweighed by other benefits . . .

 does not negate standing.”).

       The Department contends that Stephens’ costs and burdens are “unduly

 vague and insufficiently ‘concrete’” because ASA did not identify the precise

 expenses and numbers of hours Stephens will need to spend to comply with the

 pronouncements in FAQ 15. Dep’t Opp. 20-21. But “no precedent requires the

 Court to disregard non-quantitative evidence, or to demand specific numerical

 projections.” New York v. U.S. Dep’t of Lab., 477 F. Supp. 3d 1, 8 (S.D.N.Y. 2020). “To

 the contrary, because even ‘an identifiable trifle’ suffices to demonstrate standing,

 all [the plaintiff] must show is that it will be injured, not the magnitude of its

 injury.” Id. (quoting United States v. SCRAP, 412 U.S. 669, 689 n.14 (1973));

 Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973, 983 (2017) (a “loss of even a small

 amount of money” is a cognizable injury). And it is undisputed that Stephens must

 buy “expensive software” because of the pronouncements in FAQ 15. Palermo

 Decl. 4, ¶10; see ASA Mot. 5. Moreover, an “increased regulatory burden” is a

 sufficient injury-in-fact, Contender Farms, 779 F.3d at 266, and Stephens’ “advisors

 must devote numerous hours complying with the Department’s new

 documentation requirements,” Palermo Decl. 4 ¶10; see ASA Mot. 5, ¶5. Indeed,

 the pronouncements on their face impose additional burdens, and the Department

 itself extended the compliance deadline because financial institutions “face[d]



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 significant challenges in implementing the documentation and disclosure

 requirements.” AR 110. Stephens is plainly injured by these pronouncements.

       B.     ASA’s injuries are traceable to the challenged policies.

       An injury is traceable when there is a “causal connection between the injury

 and the conduct complained of.” Lujan, 504 U.S. at 560. As explained above, ASA’s

 injuries are traceable to the pronouncements in FAQ 7 and FAQ 15. Specifically,

 Baird does not make certain rollover recommendations to investors because it

 would be subject to fiduciary requirements under the pronouncements in FAQ 7.

 ASA Mot. 4, ¶4. And Baird does not utilize the Exemption because of the

 burdensome and costly pronouncements in FAQ 15. ASA Mot. 5, ¶6. Similarly,

 Stephens is being forced to “expend[] additional time and resources” because of

 these pronouncements. ASA Mot. 5, ¶5.

       The Department argues that ASA cannot satisfy the traceability element of

 standing because ASA “challenges only the FAQs” and the Department

 previously made “virtually identical” statements in the preamble to the

 Exemption. Dep’t Opp. 26, 35. But the Department misreads ASA’s complaint.

 ASA does not “challenge[] only the FAQs.” Id. ASA challenges “the policies

 referenced in FAQ 7 and FAQ 15.” Compl. 3, ¶9; id. at 17, ¶68; 19, ¶78; 21, ¶90; 22,

 ¶97 (alleging in Counts I-IV that “the policies referenced in the FAQ[s] must be held

 unlawful and set aside” (emphasis added)); id. at 23, ¶¶a-d (asking the Court to

 “[d]eclare that the policies referenced in FAQ 7 and FAQ 15” violate the APA;

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 “[e]njoin the Defendants from enforcing . . . the policies referenced in FAQ 7 and

 FAQ 15”; and “[v]acate and set aside the policies referenced in FAQ 7 and FAQ 15”

 (emphasis added)); see also ASA Mot. 29 (“[T]he Court should declare that the

 Department’s pronouncements in FAQ 7 and FAQ 15 are unlawful, enjoin the

 Defendants from enforcing them anywhere in the Department’s jurisdiction, and

 vacate and set them aside.” (emphasis added)). And the policies referenced in the

 FAQs are the same policies that are in the preamble, as the Department repeatedly

 admits. See Dep’t Opp. 13, ¶4 (“materially indistinguishable”); id. at 3, 26, 29, 35-36

 (“identical”); id. at 26, 35 (“virtually identical”).

        The Department appears to believe that ASA’s injuries aren’t traceable

 because ASA didn’t frame its complaint and motion for summary judgment as

 challenging “the pronouncements in the preamble.” But again, ASA challenged

 “the policies referenced in the FAQ[s],” and those are the same in both the FAQs

 and the preamble. ASA’s formulation was the most logical and efficient way to

 describe its claims and the relief it is seeking. Rather than broadly reference the

 preamble—a 69-page, single-spaced document discussing myriad unrelated

 issues, see AR 1-69—ASA’s formulation makes crystal clear the specific

 Department policies that are injuring ASA and its members. The Department’s

 apparent theory—that ASA has no cognizable injuries because the Department

 articulated the same policies in more than one place—is meritless.



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       The fact that the policies were first articulated in the preamble is irrelevant.

 The preamble has no more legal authority than the FAQs. In both documents, the

 Department is improperly “‘amend[ing] a prior legislative rule’” outside of the

 notice-and-comment process. Mendoza v. Perez, 754 F.3d 1002, 1024 (D.C. Cir. 2014);

 see N.H. Hosp. Ass’n v. Azar, 887 F.3d 62, 76 (1st Cir. 2018) (“[I]f the agency did

 establish its rule in the preamble, it is procedurally improper for the same reasons

 we deemed the FAQs announcement procedurally improper. . . . A rule stated in

 a preamble is subject to the same analysis of whether its articulated policy is

 interpretive or legislative, and if it is the latter, it is procedurally improper.”). If

 anything, ASA’s formulation of its claims and requested relief was the most

 appropriate because ASA points to the agency’s most recent articulation of its

 policies. See Dep’t Opp. 22 (FAQs “restate and synthesize” the agency’s policies).

       Kimelman v. Garland, 2022 WL 621401 (D.D.C. Mar. 3, 2022) is plainly

 distinguishable. There, the plaintiff sued federal officials seeking declaratory and

 injunctive relief from a federal statute that prohibited him from possessing a

 firearm. Id. at *1. The district court found no traceability because the plaintiff’s

 injuries were “‘the result of [an] independent action of [a] third party not before

 the court.’” Id. Specifically, because “New York law also prohibit[ed]” the plaintiff

 from purchasing a firearm, his harms were not “traceable to [the] federal law” he

 had challenged. Id. at *2. That is not the case here. ASA has challenged the same



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 policies being enforced by the same agency. ASA’s injuries are traceable to the

 Department’s policies.

       C.     ASA’s injuries are redressable by a favorable decision.

       An injury is redressable “when a favorable decision would amount to a

 significant increase in the likelihood that the plaintiff would obtain relief that

 directly redresses the injury suffered.” Mulhall v. UNITE HERE Local 355, 618 F.3d

 1279, 1290 (11th Cir. 2010) (cleaned up). Here, ASA asks the Court to declare

 unlawful the policies referenced in the FAQs, enjoin the Department from

 enforcing, applying, or implementing them, and vacate and set them aside. Compl.

 at 23, ¶¶a-d. If the Court grants that relief, ASA’s injuries will be redressed. Baird

 could provide the rollover recommendations to its investors that it wants to

 provide and could utilize the Exemption to engage in the activities that the

 Exemption explicitly permits. ASA Mot. 4-5, ¶¶4, 6. Stephens similarly could

 utilize the Exemption without expending time and resources complying with the

 unlawful pronouncements. ASA Mot. 5, ¶5. These are classic redressable injuries

 in APA claims. See, e.g., Children’s Hosp. of the King’s Daughters, Inc. v. Azar, 896

 F.3d 615, 624 (4th Cir. 2018) (injury redressable by “enjoining the Secretary from

 enforcing the policy set forth in FAQ 33”); Health Freedom Def. Fund, Inc. v. Biden,

 2022 WL 1134138, at *22 (M.D. Fla. Apr. 18) (injury redressable by declaring an

 agency action unlawful and vacating it).



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       That the preamble contains “virtually identical” language, Dep’t Opp. 26,

 does not make ASA’s injuries unredressable. As explained above, ASA challenges

 “the policies referenced in the FAQ[s].” And the policies in the FAQs are “identical”

 to the policies in the preamble. Dep’t Opp. 3; see also ASA Mot. 10-12 (discussing

 the pronouncements in the preamble). If the Court declares these policies

 unlawful, enjoins the Department from enforcing them, and vacates and sets them

 aside, see Compl. 23, ¶¶a-d, ASA Mot. 28-29, there is no possible scenario in which

 the Department could continue to enforce the “identical” policies in the preamble.

 See, e.g., FEC v. Cruz, 142 S. Ct. 1638, 1649-50 (2022) (“[I]f Section 304 [of the statute]

 is invalid and unenforceable . . . the agency’s 20-day rule is as well. And the

 remedy appellees sought in the District Court—an order enjoining the

 Government from taking any action to enforce the [20-day rule]—would redress

 appellees’ harm.”); Carpenters Indus. Council v. Zinke, 854 F.3d 1, 6 n.1 (D.C. Cir.

 2017) (“[I]f a government action causes an injury, enjoining the action usually will

 redress [it].”); compare with Kimelman, 2022 WL 621401, at *3 (no redressability

 because a different state law enforced by a different sovereign would still prohibit

 the plaintiff from purchasing a firearm).

       Last, even if the Court believes that ASA should have framed its requested

 relief differently (which it shouldn’t), the Court is not powerless to redress ASA’s

 injuries. “[F]ederal courts possess broad discretion to fashion an equitable

 remedy.” Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs, 781 F.3d 1271,
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 1290 (11th Cir. 2015). Moreover, ASA sought “all other relief to which Plaintiff is

 entitled” and “all other relief that this Court deems just and proper.” Compl. 23,

 ¶¶e-f; Kursar v. TSA, 751 F. Supp. 2d 154, 161 n.5 (D.D.C. 2010) (failure to seek “‘the

 technically appropriate remedy’” was immaterial because the plaintiff requested

 “‘other relief as [the Court] may deem just and proper’”). Nor can the Department

 claim any unfair surprise, because the policies in the preamble and the FAQs are

 “materially indistinguishable.” Dep’t Opp. 13, ¶4; see also ASA Mot. 10-12

 (discussing the pronouncements in the preamble). Thus, nothing prevents the

 Court from declaring that the policies referenced in FAQ 7 and FAQ 15, including

 the “materially indistinguishable” policies in the preamble, violate the APA;

 enjoining the Defendants from enforcing these policies; and vacating and setting

 them aside.

 II.   The Department’s pronouncements in FAQ 7 violate the APA.

       A.      The Department’s pronouncements in FAQ 7 improperly amend
               the Department’s rules without notice and comment.

       The Department argues that the pronouncements in FAQ 7 comply with the

 APA because they are an “interpretive rule.” That is incorrect. These

 pronouncements are an improper “legislative rule” because they effectively

 amend the Department’s existing regulations, adopt a new position inconsistent

 with existing regulations, and otherwise effect a substantive change in existing law

 or policy. ASA Mot. 16-19. Indeed, the Department does not deny that it “never


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 considered one-time rollover recommendations to be a ‘fiduciary’ act.” ASA

 Mot. 17 (citing prior Department statements); see also id. at 8-9. Nor does it deny

 that its new interpretation turns “countless one-time rollover recommendations

 into the acts of a fiduciary.” ASA Mot. 13. These concessions alone should be

 dispositive. Iowa League of Cities v. EPA, 711 F.3d 844, 873 (8th Cir. 2013) (an

 interpretive rule “only remind[s] affected parties of existing duties” (cleaned up)

 (emphasis added)); see also Gen. Motors Cop. v. Ruckelshaus, 742 F.2d 1561, 1565-66

 (D.C. Cir. 1984) (a rule was interpretative because it “simply restated the consistent

 practice of the agency”). The Department’s “interpretation” unquestionably

 “[e]xpand[s] the footprint” of the five-part test, which is the “hallmark of [a]

 legislative rule[].” Iowa League of Cities, 711 F.3d at 873.

       The Department’s primary argument is that its rule is interpretative because

 it said it was. Dep’t Opp. 31-34. But an agency’s characterization of its rule as

 interpretive is merely “relevant”—nothing more. Warshauer v. Solis, 577 F.3d 1330,

 1337 (11th Cir. 2009). Agencies receive no higher deference for the obvious reason

 that they could avoid the APA’s notice-and-comment requirements simply by

 calling their legislative rules “interpretive.” See Chamber of Commerce v. OSHA, 636

 F.2d 464, 468 (D.C. Cir. 1980) (“[B]ureaucratic boilerplate often obscures the true

 purpose” and so “we do not classify a rule as interpretive just because the agency

 says it is.”); see, e.g., Hemp Indus. Ass’n v. Drug Enf’t Admin., 333 F.3d 1082, 1087



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 (9th Cir. 2003) (“While the DEA has characterized its rule as an interpretive rule,

 the court need not accept the agency characterization at face value.”).

        Indeed, there is reason for the Court to be skeptical here. In Chamber of

 Commerce, the Fifth Circuit vacated the Fiduciary Rule and strongly implied that

 the original 1975 rule is the only test consistent with the text of ERISA and the

 Code. See Chamber of Commerce v. DOL, 885 F.3d 360, 365, 369-79 (5th Cir. 2018)

 (“The 1975 regulation captured the essence of a fiduciary relationship known to

 the common law” and “Congress codified the touchstone of common law

 fiduciary status.”); id. at 373-74 (“DOL’s 1975 regulation flowed directly from

 contemporary understanding of ‘investment advice for a fee’” and “[s]ubstantial

 case law has followed and adopted DOL’s original dichotomy between mere sales

 conduct . . . and investment advice for a fee.”). Rather than initiate a second (and

 likely unsuccessful) attempt to amend its rules, the Department chose to simply

 “reinterpret” them.2

        It thus is relevant that the Department did not issue its new “interpretation”

 until after the Department’s Fiduciary Rule was declared unlawful and enjoined

 by the Fifth Circuit—more than four decades after the five-part test was

 promulgated. And even now the Department continues to stress that it “believe[s]


        2 Contra the Department, there was no need for “regulatory clarity” on this issue following
 Chamber of Commerce. Dep’t Opp. 33. Chamber of Commerce vacated the Fiduciary Rule and
 effectively reinstated the 1975 five-part test. ASA Mot. 9-10. There was no confusion about how
 to comply with the decades-old regulation.

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 that [the Fifth Circuit’s] ruling was in error.” Dep’t Opp. 37. Courts are highly

 skeptical of an agency’s new interpretation of its rules “when lots of time has

 passed between the rule’s issuance and its interpretation—especially if the

 interpretation differs from one that has come before.” Kisor v. Wilkie, 139 S. Ct.

 2400, 2412 (2019).

       The Department notes that it received and responded to comments on its

 proposed “interpretation” of the 1975 regulation. Dep’t Opp. 33. That is true, but

 irrelevant. As explained, an agency cannot effectively amend its rules through an

 “interpretation”—even if the agency provides notice of its new interpretation and

 responds to the comments it receives. ASA Mot. 18-19. Only rules—not

 preambles—go through the notice-and-comment process. N.H. Hosp. Ass’n, 887

 F.3d at 76 (“Although the 2008 regulation was subject to notice and comment, the

 preamble, like the FAQs announcement, was not.”); see also York v. Wellmark, Inc.,

 2017 WL 11261026, at *17 & n.9 (S.D. Iowa 2017) (same). The Department never

 disputes this. Indeed, the Department cites no case in which an agency was

 permitted to effectively amend its rules through a new “interpretation” because

 the agency received and responded to comments about its proposal. Nor could it.

 See Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 101 (2015) (agencies must “use the

 same procedures when they amend or repeal a rule as they used to issue the rule

 in the first instance”). Thus, if the Court agrees that the pronouncements

 “effect[ed] a substantive change” or “‘effectively amend[ed]’” the 1975 five-part
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 test, the Department violated the APA, regardless of whether it received and

 responded to comments. Mendoza, 754 F.3d at 1021, 1024.

        The Department’s errors are not harmless. To begin, courts rarely, if ever,

 find notice-and-comment errors to be harmless. See Health Freedom Def. Fund, Inc.,

 2022 WL 1134138, at *16-18 (listing cases). “‘The reason is apparent: . . . if the

 harmless error rule were to look solely to result, an agency could always claim that

 it would have adopted the same rule even if it had complied with APA

 procedures.’” Cal. Wilderness Coal. v. U.S. Dep’t of Energy, 631 F.3d 1072, 1090 (9th

 Cir. 2011). “‘To avoid gutting the APA’s procedural requirements, harmless error

 analysis in administrative rulemaking must therefore focus on the process as well

 as the result.’” Id. Thus, an agency’s mistakes are harmless only when they

 “‘clearly had no bearing on the procedure used or the substance of the decision

 reached.’” Health Freedom Def. Fund, Inc., 2022 WL 1134138, at *16 (quoting U.S.

 Steel Corp. v. EPA, 595 F.2d 207, 215 (5th Cir. 1979)).3

        Here, the Department’s errors “‘plainly affected the procedure used.’” Id. at

 *17 (quoting U.S. Steel, 595 F.2d at 215). If the Department wanted to change who

 is and is not a fiduciary, it needed to amend its rules. Perez, 575 U.S. at 101. That the

 Department received comments through a different procedure—the Department’s


        3  The Department (at 36) mistakenly cites Judge Wilson’s concurrence in United States v.
 Dean, 604 F.3d 1275, 1288 (11th Cir. 2010) (Wilson, J., concurring) as the majority opinion. As
 Judge Wilson recognized, his views on harmless error are “different from . . . [the] Eleventh
 Circuit[’]s.” Id. at 1290.

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 “interpretation” of its existing rules—is irrelevant. The Department’s errors also

 affected the “‘substance of the decision reached.’” Health Freedom Def. Fund, Inc.,

 2022 WL 1134138, at *16 (quoting U.S. Steel, 595 F.2d at 215). If the Department had

 attempted to amend its rules, ASA would have filed comments disputing the

 Department’s “legal basis” and policy justifications for doing so. Id. at *17. The

 Department’s errors are not harmless.

        B.     The Department’s pronouncements in FAQ 7 are arbitrary and
               capricious.

        The Department asserts—with little analysis—that a one-time rollover

 recommendation satisfies the “regular basis” prong as long as there is a “mutual

 expectation of an ongoing relationship”—i.e., the parties believe that more advice

 will be given in the future. Dep’t Opp. 40. This argument fails. As explained, ASA

 Mot. 20-21, a one-time rollover recommendation cannot be made “on a regular

 basis to the plan” because the recommendation would be the last advice that the

 professional makes “to the plan.” 29 C.F.R. §2510.3-21(c)(1) (emphasis added). Any

 further recommendations would be made “to the [new] plan.” Id.4

        In response, the Department appears to argue that the Court should read

 “the plan” in the five-part test to mean “the investor” or “the investor’s assets.”

 See Dep’t Opp. 41-43. But the five-part test says nothing of the sort. Over and over,



        4Contra the Department (at 41), ASA has never made the “strawman assertion” that “all
 one-time rollovers are covered” under the pronouncements in FAQ 7. See ASA Mot. 12-13.

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 the regulation states that fiduciary status is determined on a plan-by-plan basis. It

 requires, among other things, that the advice be rendered “on a regular basis to the

 plan” pursuant to a mutual agreement “between such person and the plan or a

 fiduciary with respect to the plan” and that such person will “render individualized

 investment advice to the plan based on the particular needs of the plan.” 29 C.F.R.

 §2510.3-21(c)(1) (emphasis added). The Department’s interpretation in FAQ 7

 would eliminate the phrase “to the plan” throughout the five-part test, which no

 proper interpretation can do. See United States v. One (1) Douglas A-26B Aircraft,

 662 F.2d 1372, 1374 n.6 (11th Cir. 1981) (“[A]ll words within a statute are intended

 to have meaning and should not be construed as surplusage”); cf. LaRue v. DeWolff,

 Boberg & Assocs., Inc., 552 U.S. 248, 261 (2008) (Thomas, J., concurring) (“The plain

 text of § 409(a) [of ERISA], which uses the term ‘plan’ five times, leaves no doubt

 that § 502(a)(2) authorizes recovery only for the plan.”).5

        The Department argues that ASA’s plain reading would lead to “absurd

 outcomes” because it could “‘arbitrarily divid[e] an ongoing relationship’” when

 advice is “rendered to the exact same Retirement Investor (first as a Plan

 participant and then as IRA owner).” Dep’t Opp. 43. As an initial matter, an


        5  LaRue does not support the Department’s interpretation. There, the Supreme Court held
 that Section 502(a) of ERISA “authorize[s] recovery for fiduciary breaches that impair the value
 of plan assets in a participant’s individual account.” 552 U.S. at 256. Nothing in the Court’s
 holding or reasoning suggests that ERISA’s use of the word “plan” really means the “investor’s
 assets,” irrespective of the plan. Indeed, there was only one “plan” at issue in LaRue, id. at 250,
 whereas a rollover involves different plans, ASA Mot. 21.

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 interpretation is not “absurd” unless it is “preposterous, one that ‘no reasonable

 person could intend.’” Texas Brine Co., LLC v. Am. Arb. Ass’n, Inc., 955 F.3d 482, 486

 (5th Cir. 2020) (quoting Scalia & Garner, Reading Law: The Interpretation of Legal

 Texts 237 (2012)). “[A]n absurdity is not mere oddity. The absurdity bar is high, as

 it should be.” Id.; see, e.g., Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546,

 565 (2005) (“The omission may seem odd, but it is not absurd.”).

         Here, ASA’s interpretation does not lead to “absurd outcomes.” “The

 responsibility attaching to fiduciary status has been described as ‘the highest

 known to law,’” ITPE Pension Fund v. Hall, 334 F.3d 1011, 1013 (11th Cir. 2003), and

 it arises only “with respect to the particular activity at issue,” Cotton, 402 F.3d at

 1277. It is not absurd that the five-part test would limit the imposition of this

 highest duty to only certain “‘particular’” circumstances. Id. That a plain reading

 does not comport with the Department’s policy preferences does not make the

 interpretation absurd. Indeed, the Department used to have the same reading as

 ASA. See ASA Mot. 8-9, 17.6

         Moreover, as explained—with no response from the Department—the five-

 part test’s use of the present tense cannot be ignored. The regulation says that a

 fiduciary “renders advice” on a regular basis—not “will render” advice or is



         6  The Department repeatedly states that “the five-part test for fiduciaries appears both in
 Title I and the Code.” Dep’t Opp. 43; see also id. 44 (stating that “the same five-part test appears
 in Title II”). That is incorrect. The five-part test is a regulation; it is neither in Title I nor the Code.

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 “expected to” render advice. ASA Mot. 21-22. By using the present tense, the

 regulation makes clear that the advice being given on a regular basis must be

 “‘presently existing.’” ASA Mot. 22 (quoting Bonnichsen v. United States, 367 F.3d

 864, 875 (9th Cir. 2004)); see also Kilpatrick v. Kilpatrick, 2013 WL 3874767, at *4 (Tex.

 App. 2013) (“A person is justified in placing confidence in the belief that another

 party will act in his best interest only when he is accustomed to being guided by the

 other party’s judgment or advice and the parties have a long association in a

 business relationship and a personal friendship.” (emphasis added)). Moreover,

 by imposing fiduciary status whenever there is a “mutual expectation” of

 additional advice, the Department would find the “regular basis” prong satisfied

 even if that expectation is wrong and no further advice occurs. ASA Mot. 22. That

 makes no sense and contradicts the meaning of “regular.” Id. Regular means

 “recurring . . . at fixed, uniform, or normal intervals.” “Regular,” Merriam-

 Webster, https://bit.ly/3IUsKFm. Such “recurring” advice cannot possibly

 happen the first time advice is given. The Department has no response to any of

 these points. See FTC v. IAB Mktg. Assocs., LP, 972 F. Supp. 2d 1307, 1311 (S.D. Fla.

 2013) (“[N]ew arguments in [a] reply brief . . . are forfeited.”).

       Last, the Department contends that Chamber of Commerce actually supports

 “the Department’s view that in some cases advice to roll over assets from an ERISA

 plan to an IRA might meet the definition of fiduciary investment advice.” Dep’t

 Opp. 38 (emphasis in original). But the Department misinterprets Chamber of
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 Commerce. The Fifth Circuit found it “ordinarily inconceivable” that a one-time IRA

 rollover recommendation could be fiduciary advice. Chamber of Commerce, 885 F.3d

 at 380 (emphasis added). Regardless, even if the Fifth Circuit left open the

 possibility that certain one-time rollover advice could be fiduciary advice, that

 does not mean that the Department’s pronouncements are permissible under the

 statutes or the five-part test. See ASA Mot. 22-23.

 III.   The Department’s pronouncements in FAQ 15 violate the APA.

        A.    The Department’s pronouncements in FAQ 15 improperly amend
              the Department’s rules without notice and comment.

        As explained, ASA Mot. 24-26, the pronouncements in FAQ 15 are

 procedurally improper because they “bind[] the public to a strict and specific set

 of obligations” that are contained nowhere in the text of the Exemption, EPIC v.

 DHS, 653 F.3d 1, 7 (D.C. Cir. 2011). The Department makes no effort to defend FAQ

 15 as procedurally proper, instead focusing entirely on the pronouncements in

 FAQ 7. See Dep’t Opp. 28-35. The Department’s general assertions that “the FAQs

 are not a legislative rule” are insufficient. Outley v. City of Chi., 407 F. Supp. 3d 752,

 761 (N.D. Ill. 2019) (“‘Perfunctory and undeveloped arguments . . . are waived.’”)

 (citation omitted).7




        7Nor would the Department’s other defenses apply, even if the Department had made
 them. The Department never characterized its pronouncements in FAQ 15 as “interpreting” the
 Exemption, AR 1355, and a preamble does not go through notice and comment, supra 19. The
 pronouncements also effectively amend the Exemption. ASA Mot. 26-28.

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       The Department’s only argument with respect to the pronouncements in

 FAQ 15 is that the Department’s errors are harmless because “virtually identical”

 language was included in the preamble. That argument fails, as explained above.

 Supra 20-21. The Department’s errors “plainly affected the procedure used” and

 the “‘substance of [the] decision reached.’” U.S. Steel Corp., 595 F.2d at 215. The

 Department put its pronouncements in the preamble and FAQs (not the

 Exemption itself), and it purposefully wrote the Exemption not to include these

 pronouncements. If the Department had complied with the APA, ASA could have

 argued that the pronouncements should not be mandatory because they impose

 “burdensome, expensive, and time-consuming” obligations. Palermo Decl. 4, ¶10.

       Indeed, the Department appears to believe that as long as an agency puts its

 policies in the preamble—and not the actual rule—then its errors will always be

 harmless. This argument, if accepted, would “‘gut[] the APA’s procedural

 requirements,’” Cal. Wilderness, 631 F.3d at 1090, as an agency could enforce any

 statement made in a preamble as if it had the same authority as a duly

 promulgated rule. No case supports creating this loophole. Cf. Shell Oil Co. v. EPA,

 950 F.2d 741, 750-52 (D.C. Cir. 1991) (that the EPA previously “considered and

 rejected the points raised by petitioners” does not make its errors harmless).




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       B.     The Department’s pronouncements in FAQ 15 are arbitrary and
              capricious.

       As explained, ASA Mot. 26-28, the Exemption requires advisors only to

 document the “specific reasons” that they believe a rollover is an investor’s best

 interest. AR 66. That is it. Nothing in the Exemption “compels or logically justifies”

 the laundry list of obligations laid out in the pronouncements in FAQ 15. Mountain

 States Health All. v. Burwell, 128 F. Supp. 3d 195, 204 (D.D.C. 2015).

       The Department contends that it “strains credulity to think that” an advisor

 could provide “specific reasons” for recommending a rollover without complying

 with the numerous documentation and investigation requirements articulated in

 FAQ 15. ASA Opp. 45. But the Department gives no evidence or reasoning for this

 bold assertion. Indeed, if it were so obvious, there would be no need for the

 Department’s    “guidance”       on   the   issue.   The   Department    made     these

 pronouncements precisely because these documentation and investigation

 requirements were nowhere in the Exemption. Moreover, the Exemption’s use of

 the word “specific” supports ASA’s reading. Advisors need only provide their

 “precise”   and     “explicit”    reasons—whatever         they   may    be—for    the

 recommendation. “Specific,” Webster’s New World College Dictionary (4th ed.),

 https://bit.ly/3IzKYfv.

       Notably, the Department fails to address all the requirements ASA

 challenges. The pronouncements in FAQ 15 require that, if certain financial


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 information is unavailable, advisors must “make a reasonable estimation of

 expenses, asset values, risk, and returns based on publicly available information”

 and “document and explain the assumptions used and their limitations.” AR 1355;

 see ASA Mot. 24-28. The Department has no argument for why these burdensome

 requirements are a fair interpretation of the Exemption. Any such argument in its

 reply is forfeited. See IAB Mktg. Assocs., 972 F. Supp. 2d at 1311.

 IV.   The Department’s interpretations are not entitled to deference

       As a last-ditch effort, the Department asks the Court to defer to its

 interpretations. The Court should reject the invitation. As the Supreme Court

 recently emphasized, such deference rarely applies. “There was a time when a

 court faced with a regulation that seemed ‘impenetrable on first read’ might

 simply ‘wave the ambiguity flag’ and defer to the agency’s interpretation. No

 longer.” United States v. U.S. Stem Cell Clinic, LLC, 998 F.3d 1302, 1308 (11th Cir.

 2021) (quoting Kisor, 139 S. Ct. at 2415). Under Kisor, “judicial deference is

 appropriate only if a regulation is ‘genuinely ambiguous.’” Id. (quoting Kisor, 139

 S. Ct. at 2415). As the Supreme Court emphasized, “when we use that term, we

 mean it—genuinely ambiguous, even after a court has resorted to all the standard

 tools of interpretation.” Kisor, 139 S. Ct. at 2414.

       Before “declaring a regulation genuinely ambiguous,” courts “must

 ‘exhaust all the traditional tools of construction.’” U.S. Stem Cell Clinic, 998 F.3d at

 1308 (quoting Kisor, 139 S. Ct. at 2415). The Court should “consider the parties’

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 textual arguments, giving the agency’s view no special weight except to the extent

 it has the ‘power to persuade.’” Id. (quoting Kisor, 139 S. Ct. at 2414). “[O]nly when

 that legal toolkit is empty and the interpretive question still has no single right

 answer can a judge conclude that it is ‘more [one] of policy than of law.’” Kisor,

 139 S. Ct. at 2415.8

        As explained above, the relevant provisions here are not “genuinely

 ambiguous.” Far from it. For decades, regulated entities understood the meaning

 of “regular basis to the plan.” See ASA Mot. 8-9, 17. The Department issued its new

 “interpretation” not to alleviate confusion but to effectively change its rules

 following the Fifth Circuit’s decision vacating the Fiduciary Rule. Supra 17-18. Nor

 is there any ambiguity about the straightforward requirement that an advisor

 document the “specific reasons” why a rollover is in the best interests of an

 investor. ASA Mot. 26-28. Because the provisions are not “genuinely ambiguous,”

 the Court cannot defer to the Department’s interpretations.

        Yet even if the relevant provisions were “genuinely ambiguous” (which

 they aren’t), the Department’s interpretations still should not receive deference

 because they do not “fall ‘within the bounds of reasonable interpretation,’”

 another prerequisite for receiving deference. Kisor, 139 S. Ct. at 2416. The


        8 The Department implies that its “interpretations” are entitled to deference because they
 were first contained in a preamble to the exemption. Dep’t Opp. 46 n.10 (citing AFL-CIO v.
 Donovan, 757 F.2d 330, 343 (D.C. Cir. 1985)). Donovan says nothing of the sort. Nor does any such
 deference exist. See generally Kisor, 139 S. Ct. at 2412-18.

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 Department’s interpretations are unreasonable because they have no basis in the

 text of the 1975 regulation or the Exemption. Supra 26-27. That the Department’s

 interpretations align with what the agency believes is “wise as a policy matter” is

 plainly insufficient. Loving v. IRS, 742 F.3d 1013, 1022 (D.C. Cir. 2014).

        Last, the Department’s pronouncements in FAQ 7 receive no deference for

 the additional reason that they “‘conflict[] with a prior’” construction of a decades-

 old regulation. Kisor, 139 S. Ct. at 2418. The Department does not dispute that its

 interpretation of “regular basis to the plan” used to be the exact opposite of what

 it is now. See ASA Mot. 8-9, 17. No deference is due “when lots of time has passed

 between the rule’s issuance and its interpretation—especially if the interpretation

 differs from one that has come before.” Kisor, 139 S. Ct. at 2412.

                                         CONCLUSION
        For the foregoing reasons, the Court should grant ASA’s motion for

 summary judgment and deny the Department’s motion to dismiss and motion for

 summary judgment.9




        9 The Department does not dispute that, if ASA prevails on the merits of its claims, it
 should receive the relief it requests. See ASA Mot. 28-29; IAB Mktg. Assocs., 972 F. Supp. 2d at 1311
 (“[N]ew arguments in [a] reply brief . . . are forfeited.”).

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                                          Respectfully submitted,

        Dated: July 22, 2022               /s/ J. Michael Connolly

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                            CERTIFICATE OF SERVICE

       I hereby certify that on July 22, 2022, I electronically filed the foregoing with

 the Clerk of the Court using the CM/ECF system, which will send notice to all

 counsel of record.

                                               /s/ J. Michael Connolly

                                            J. Michael Connolly (pro hac vice)




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